       Case 4:22-po-00003-WIA Document 1 Filed 05/18/22 Page 1 of 2




                UNITED STATES DISTRICT COURT
              MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      cR. NO. 4.22-CR-

                                              (Judge                   )

AMY B. LEISTtrR,                              electronically filed
           Defendant.


                            INFORMATION

THE UMTED STATES ATTORNEY CI{ARGES:

                                 COTINT 1
                              18 U.S.C. S 701
                   (Posse ssing/X{aking Unauthorized
                    Identification Card and Insignia)

     On or about May 17, 2021, rn Union County, within the Middle

District of Pennsylvania, and elsewhere, the defendant

                           AMYB. LEISTER

without authorization under regulations made pursuant to law, did

knowingly possess and make a print and impression in the likeness of

an identification card and insignia prescribed by the head ofa

department and agency of the United States for use by any employee

thereof, specifically a fake COVID-19 Vaccination Record Card.

purportedly issued by the United states Department of Health and
       Case 4:22-po-00003-WIA Document 1 Filed 05/18/22 Page 2 of 2




Human Services, Center for Disease Control to record medical

information about vaccines purportedly received, and bearing the

insignia ofthat department and agency ofthe United States.

     AIl in violation of Title 18, United States Code, Section 701.

                                  JO N C. GURGANUS
                                           tes

                            BY:
                                  GE o It GE J. ROCKTASHEL
                                  Assistant United States Attorney

Date:.l- 1K- J-o"2)-.




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